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      Federal Defendants’ RJN Exh A
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                          Exhibit C
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      Federal Defendants’ RJN Exh B
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                          Exhibit D
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       Federal Defendants’ RJN Exh C
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                             Exhibit E
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      Federal Defendants’ RJN Exh D
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                             Exhibit F
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                                                                   Homeland Security Investigations

                                                                   U.S. Department of Homeland Security
                                                                   Potomac Center North
                                                                   500 12th Street, SW MS-5600
                                                                   Washington, DC 20536-5600




S. Raj Chtterjee, Partner
MORRISON FOERSTER
425 Market Street
San Francisco, CA 94105-2482

October 3, 2016

RE: Student and Exchange Visitor Program Notice of Intent to Withdraw

Dear Mr. Chatterjee:

The Student and Exchange Visitor Program (SEVP) received your letter dated September 13,
2016, concerning the “October 2014 Report” (Report) which was previously provided to SEVP
by an individual connected to International Technological University (ITU).

Your letter seeks specific information about the individual(s) who provided the Report, their
authority to do so, and other related facts. As you are aware, both state and federal
whistleblower laws protect individuals who report legal violations. The Report at issue here
specifically states, “ITU submitted falsified documents to SEVP on at least two previous
occasions in response to requests from the agency”. Given the continuing nature of SEVP’s
enforcement action and SEVP’s commitment to ensuring the fullest protection of individuals
covered by whistleblower laws, SEVP will not provide the requested information.

Additionally, your letter incorrectly states, “SEVP does not deny that the ‘October 2014 Report’
is an attorney-client communication, and effectively admits this fact by claiming that the
attorney-client privilege was waived”. To be clear, SEVP’s September 8, 2016 response stated,
“SEVP does not believe the October 2014 Report is covered by the attorney-client privilege
under state or federal law” and “to the extent the document was ever covered by attorney-client
privilege, that privilege was waived by its intentional disclosure or lost by ITU’s failure to timely
assert or reasonably protect the privilege”. SEVP continues to believe that the Report is not a
privileged communication or otherwise protected.
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Please direct any further inquiries to sevp.support@ice.dhs.gov.

Regards,




Beth M. Gibble
Student and Exchange Visitor Program
Homeland Security Investigations
US Immigration and Customs Enforcement
US Department of Homeland Security


cc: Melanie Proctor
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       Federal Defendants’ RJN Exh E
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       Federal Defendants’ RJN Exh F
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                           Exhibit H
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                                                                   500 12th Street, SW MS-5600
                                                                   Washington, DC 20536-5600




                                                    October 31, 2016
October 31, 2016


S. Raj Chatterjee, Partner
MORRISON FORESTER
425 Market Street
San Francisco, CA 94105-2482


RE: Student and Exchange Visitor Program Notice of Intent to Withdraw

Dear Mr. Chatterjee:

The Student and Exchange Visitor Program (SEVP) received your letter dated October 21, 2016,
requesting additional information concerning the October 2014 Report, about which we have
previously corresponded. SEVP maintains that the document is not privileged and, even if it
were, the privilege was not adequately protected and was waived. Moreover, given the
continuing nature of SEVP’s enforcement action and the potential applicability of whistleblower
protections, SEVP is unable to provide details concerning the disclosure of the 2014 Report.

Please direct any further inquiries to sevp.support@ice.dhs.gov.


Regards,




Lisa Glasoe
Chief, Analysis and Operations Center
Student and Exchange Visitor Program
Homeland Security Investigations
US Immigration and Customs Enforcement
US Department of Homeland Security


cc: Melanie Proctor
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      Federal Defendants’ RJN Exh G
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                                                                            U.S. Department of Homeland Security
                                                                            Potomac Center North
                                                                            500 12th Street, SW MS-5600
                                                                            Washington, DC 20536-5600




September 28, 2017                                           School Code: SFR214F01670000

Jason Barber
International Technological University
355 W. San Fernando Street
San Jose, CA 95110
jbarber@itu.edu

                                   Student and Exchange Visitor Program
                                        Motion by a Service Officer

Notice:

In accordance with 8 CFR §103.5(a)(5), the Student and Exchange Visitor Program (SEVP) may
reopen a decision made regarding a school’s petition. International Technological University (ITU)
was issued a notice withdrawing its certification to enroll nonimmigrant students on July 18, 2017.
SEVP, on its own motion, hereby rescinds the Withdraw on Notice (WON) issued on July 18, 2017
and reopens these proceedings to take additional information and evidence from the school in accord
with 8 CFR § 214.4(f).


Procedural and Factual Summary:

On May 21, 2003, ITU was certified by SEVP to issue Forms I-20, “Certificate of Eligibility”, to F-1
nonimmigrant students for three undergraduate and graduate level programs.

During subsequent compliance reviews between 2010 to 2014, SEVP issued several requests for
evidence (RFE), including requests for F-1 nonimmigrant student records, in accord with 8 CFR
§214.3(g)(1). 1 Although ITU responded to each RFE, the school’s responses were incomplete and
otherwise indicated that ITU had failed to maintain various records relating to F-1 nonimmigrant
students studying at ITU.

Therefore, SEVP issued ITU a Notice of Intent to Withdrawal (NOIW) the school’s certification on
July 26, 2016 outlining several compliance issues, including record-keeping and reporting failures as
well as conduct on the part of ITU’s designated school officials (DSO) that violates federal regulations.
SEVP received the school’s response on September 26, 2016, and subsequently issued a decision
withdrawing ITU’s certification to enroll nonimmigrant students on July 18, 2017. ITU appealed that
decision.

1
 The dates of the RFEs are as follows: July 6, 2011, August 9, 2011, October 12, 2011, January 18, 2012, and January 16,
2014. ITU’s responses were received on the following dates: August 5, 2011, September 9, 2011, November 15, 2011,
February 17, 2012, and February 17, 2014.
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Decision:

ITU appealed the WON on August 1, 2017, noting that the school requested a telephonic interview in
their NOIW response. Pursuant to 8 CFR §103.3(a)(2)(ii), the SEVP official who made the unfavorable
decision being appealed has an opportunity to review the appeal prior to forwarding it to the SEVP
Administrative Appeals Team for consideration. Here, the SEVP Analysis and Operations Center
(SAOC) issued the decision withdrawing ITU’s certification to enroll nonimmigrant students. On
review of ITU’s NOIW response, the SAOC located ITU’s request for an interview, which was
incorporated within the school’s 33 page brief. Therefore, the SAOC has decided to reopen these
proceedings to permit ITU to present additional information and evidence during a telephonic interview.
8 CFR §214.4(f).

Accordingly, the SAOC will rescind the WON dated July 18, 2017 pending the outcome of additional
proceedings, including a telephonic interview, to address the grounds SEVP raised in the NOIW issued
on July 26, 2016.

The SAOC will contact ITU’s P/DSOs and attorneys of record to schedule a telephonic interview on a
mutually convenient date. In the interim, any questions regarding this notice may be sent to SEVP
Support at sevp.support@ice.dhs.gov.

Sincerely,




Lisa Glasoe
Chief, Analysis and Operations Center
Student and Exchange Visitor Program
US Immigration and Customs Enforcement
500 12th Street, SW MS 5600
Washington, DC 20536-5600

Prepared by: JIK
Enclosures
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                            Exhibit J
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                                                                     Homeland Security Investigations

                                                                     U.S. Department of Homeland Security
                                                                     Potomac Center North
                                                                     500 12th Street, SW MS-5600
                                                                     Washington, DC 20536-5600




April 17, 2018                                         School Code: SFR214F01670000

Amy Chaung
International Technological University
355 W. San Fernando Street
San Jose, CA 95110
achaung@itu.edu

                             Student and Exchange Visitor Program
                                     Withdrawal on Notice

Decision

After review of your institution’s response to SEVP’s Notice of Intent to Withdraw (NOIW)
issued on July 26, 2016, SEVP has determined that your institution is withdrawn on notice.
Your school must wait at least one calendar year from the date of this notice before being
eligible to petition again for SEVP certification. Eligibility to re-petition will be at the discretion
of the Director of SEVP.

The compliance issues identified in this case include:



International Technological University has 15 days to file an appeal of this notice. If you do not
choose to file an appeal within this timeframe, the decision is final. No fee is required with
appeals related to withdrawal of SEVP certification.

Background
On behalf of the Department of Homeland Security (DHS), SEVP uses the Student and
Exchange Visitor Information System (SEVIS) to track and monitor U.S. educational institutions
that enroll nonimmigrant students, as well as the students themselves while residing in the
United States on an F or M visa. Tracking foreign students is a priority for the federal
government because events such as the 1993 World Trade Center bombing, the September 11,
2001 attacks, and the Boston Marathon bombings allegedly involved, either directly or
indirectly, nonimmigrant students who were admitted into the United States on a student visa.
H.R. Rep. N. 107-807, at 316 (2003).

Congress has enacted several statutes meant to eliminate potential vulnerabilities related to
nonimmigrant student visas. For example, the Illegal Immigration Reform and Immigrant
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Responsibility Act (IIRIRA) of 1996 contains statutory language mandating the development of
a program to collect data and improve tracking of foreign students. In 2001, Congress expanded
the foreign student tracking system when it enacted the United and Strengthening America by
Providing Appropriate Tools Required to Intercept and Obstruct Terrorists Act (USA PATRIOT
ACT) of 2001, Pub. L. No. 107-56 (Oct. 26, 2001). In 2002, Congress strengthened the tracking
system yet again, noting concerns with national security and emphasizing the need to carefully
track student status and information through the Enhanced Border Security and Visa Entry
Reform Act of 2002, (EBSVERA) Pub. L. No. 107-173, § 501 (May 14, 2002). Importantly,
EBSVERA instituted a two-year recertification process for all SEVP-certified schools requiring
them to demonstrate continued eligibility for SEVP certification, including compliance with all
recordkeeping and reporting requirements. In 2010, to prevent visa fraud, Congress enacted the
Accreditation of English Language Training Programs Act, Public Law No. 111-306, 124 Stat.
3280 (2010) which required all English language training programs (ESL) to be accredited by an
accrediting agency recognized by the Department of Education (ED) to enroll nonimmigrant
students. These laws demonstrate a clear congressional directive that the U.S. Immigration and
Customs Enforcement (ICE) closely monitors foreign students and the schools in which they
enroll by vigorously enforcing the statutory and regulatory requirements.

Procedural and Factual Summary

Schools seeking to enroll nonimmigrant students must first submit a Form I-17 (Petition for
Approval of School for Attendance by Nonimmigrant Student), along with necessary
documentation, to allow SEVP to adjudicate the school’s eligibility to enroll foreign students in
their programs of study. Schools and their designated school officials (DSOs) must certify that
they have read and understand DHS regulations relating to SEVP certification.1 Once certified,
designated school officials (DSOs) must maintain knowledge of the governing regulations and
are required to report changes to certain information concerning the school and its students.2 The
school’s Form I-17 also informs SEVP of the programs for which it seeks to enroll
nonimmigrant students. Schools are only authorized to enroll nonimmigrant students in the
programs that are listed on their Form I-17 and only after SEVP has approved the school’s
certification.3

To ensure compliance with this obligation, federal regulations authorize SEVP to review a
school’s certification at any time to verify compliance with regulations governing recordkeeping,
retention, reporting, and other mandatory requirements.4 Schools that fail to comply with these
recordkeeping and reporting requirements, or fail to follow regulatory provisions concerning
school certification and/or nonimmigrant student status, are subject to withdrawal of their SEVP
certification.5 In such cases, SEVP issues a Notice of Intent to Withdraw (NOIW) the school’s
certification explaining the specific regulations SEVP alleges the school violated.6 The school


1
  See 8 CFR § 214.3(a)(1)(ii).
2
  See 8 CFR §214.3(g)(1) and (l)(3).
3
  See 8 CFR §214.3(e)(2).
4
  8 CFR § 214.3(h)(3) et seq.
5
  Id.
6
  8 CFR § 214.4(b).
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then has an opportunity to respond to the allegations and may be assisted by counsel of its choice
at no expense to the government.7

On May 21, 2003, International Technological University (ITU) was certified by SEVP to issue
Forms I-20, Certificate of Eligibility, to F-1 nonimmigrant students for the following degree
programs: Bachelor of Science, Master of Science, and Master of Business Administration.

In 2010, SEVP initiated an out-of-cycle review of ITU’s SEVP certification upon reviewing the
school’s recordkeeping in SEVIS regarding student enrollment and Curricular Practical Training
(CPT). Subsequently on November 16 and 17, 2010, SEVP representatives toured ITU’s 765 San
Aleso Avenue, Sunnyvale, CA location and conducted an interview with former PDSO Mikel
Duffy. Following the site visit, SEVP sent ITU a Request for Student Records on April 20, 2011,
to which the school responded on May 5, 2011.

On March 29, 2011, ITU submitted a Form I-17 update in SEVIS to change locations to 355 W.
San Fernando Street, San Jose, CA. After SEVP conducted a site visit of 355 W. San Fernando
St. location, SEVP sent the school five separate Requests for Evidence (RFE) between 2011 and
2014 seeking a variety of documents to adjudicate the location change and ensure ITU’s
continued eligibility for certification.8



Moreover, on January 13, 2015, SEVP received a copy of a report dated October 6, 2014, which
was commissioned by ITU on May 2, 2014 regarding an “Updated Summary of Investigation
Regarding ITU Response to January 2014 Student and Exchange Visitor Program Request for
Evidence, Including History of Related Conduct” (Summary of Investigation).9




7
  8 CFR § 214.4(b) – (f).
8
  The dates of the RFEs are as follows: July 6, 2011, August 9, 2011, October 12, 2011, January 18, 2012, and
January 16, 2014. ITU’s responses were received on the following dates: August 5, 2011, September 9, 2011,
November 15, 2011, February 17, 2012, and February 17, 2014.
9
  See Addendum A.
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Moreover, the Summary of Investigation document is not privileged and to the extent it could be
deemed privileged, such privilege was waived when an ITU official voluntarily provided the
report to SEVP and/or was waived by the school’s failure to appropriately protect its claim of
privilege by limiting dissemination of the document.
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Your school may file an appeal as outlined below.

Appeal Rights

If you desire to appeal this decision as provided under 8 CFR §103.3, you must comply with the
following:

   1. You have fifteen (15) calendar days from the date of service of the Withdrawal on Notice
      to file appeal.
   2. If you do not choose to file an appeal within this timeframe, the decision is final.
   3. A complete appeals package consists of:
      a. A completed Form I-290B, Notice of Appeal or Motion, with original signature (form
           enclosed);
      b. An optional supporting statement or brief specifically stating the grounds for
           contesting the petition withdrawal; and
      c. Any other supporting documentation.

Additional instructions are attached to this notice. Please refer to 8 CFR §103.3 and 8 CFR
§214.4(h) for the regulations regarding appeals. For further information on filing your appeal and
appeal alternatives, please visit http://www.ice.gov/sevis/appeals. Your school may also submit a
written request for oral argument in support of your appeal per 8 CFR §103.3(b). The SEVP
Appeals Team (SAT) has authority to grant or deny the request for oral argument. Any such
request will be remanded at the discretion of the SAT.

All documents must be submitted by email to sevp.appeals@ice.dhs.gov. Please note that there is
no fee associated with filing an appeal. SAT will contact you directly with a decision. If SAT
overturns the decision to withdraw your school, your school will retain SEVIS access.

Your school may also request SEVP reopen or reconsider the withdrawal of your school by filing
a Form I-290B, Notice of Appeal or Motion, per 8 CFR §103.5. Both the form and instructions
for filing a motion to SEVP are attached to this notice. For additional information on how to file
a motion, please visit http://www.ice.gov/sevis/appeals. Any such request will be remanded at
the discretion of SEVP. If your school chooses to file a motion, all documents must be submitted
by email to sevp.appeals@ice.dhs.gov. If a motion is filed, your school will have access to
SEVIS until you are notified of your SEVP motion outcome. SEVP will contact you directly
with the decision.

A motion must be filed within 30 days of service of this Notice. If your school chooses not to file
a motion within the specified timeframe or a motion is received by SEVP outside of the 30 day
filing period or if your withdrawal is upheld, this decision will be final and SEVP will set a
SEVIS access termination date, at which time your SEVIS access will be restricted to only allow
DSOs to update current Initial and Active SEVIS student records until you are notified of your
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SEVIS access termination date. If you have any questions regarding the motion process or your
status, please contact the SEVP Appeals Team at sevp.appeals@ice.dhs.gov.

If you have questions regarding the appeal process or your school’s status, please contact SAT
via email at sevp.appeals@ice.dhs.gov.

Handling Students

If this WON is upheld or your school chooses not to file an appeal or motion within the required
timeframes, your school will be withdrawn in SEVIS. Your school will be notified of its SEVIS
access termination date once it has exhausted all its due process rights to appeal. Once your
school is withdrawn in SEVIS, your school’s DSO will not be able to create Initial student
records. The DSO will retain access to update current Initial and Active SEVIS student records
until the SEVIS access termination date.

Your school is responsible for advising all current nonimmigrant students in Initial and Active
SEVIS status that the school is no longer certified by SEVP. Your school is also responsible for
counseling the students on possible actions and handling their SEVIS records appropriately. All
actions taken by students and the transfer of student records must occur by the SEVIS access
termination date.

If your school does not file an appeal or motion, SEVP will notify your school of its SEVIS
access termination date on May 17, 2018. Furthermore, if your school does not file an appeal or
motion, the DSO should immediately update all records in Initial status to indicate student
registration, student termination or record cancellation. For those students in Initial status who
have not yet entered the United States, advise them they will not be admitted into the United
States with the Forms I-20 issued by your school or a visa issued for them to enroll at your
school. If the students still wish to pursue a course of study in the United States, advise them
they must apply to another SEVP-certified school. You can refer them to the list of other SEVP-
certified schools at http://www.ice.gov/sevis/.

Any questions regarding this Notice may be submitted via e-mail to
sevpcompliancesevis@ice.dhs.gov, subject line: Question: International Technological
University SFR214F01670000 WON.


Sincerely,




Lisa Glasoe
Chief, Analysis and Operations Center
Student and Exchange Visitor Program
Homeland Security Investigations
US Immigration and Customs Enforcement
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RE: SFR214F01670000

500 12th Street, SW STOP 5600
Washington, DC 20536-5600

Prepared by: JIK

Enclosures
Form I-290B, Notice of Appeal or Motion
Instructions for Filing an Appeal or Motion with SEVP

Addendum A
Addendum B
Addendum C

Cc: Joshua Hill, Form G-28 appointed representative
   Janie Schulman, Form G-28 appointed representative
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       Federal Defendants’ RJN Exh I
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                           Exhibit M
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                                             425 MARKET STREET          MORRISON   FOERSTER LLP

                                             SAN FRANCISCO              BEIJING, BERLIN, BRUSSELS,
                                                                        DENVER, HONG KONG, LONDON,
                                             CALIFORNIA 94105-2482      LOS ANGELES, NEW YORK,
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August 6, 2018                                                          Writer’s Direct Contact
                                                                        +1 (415) 268.6462
                                                                        jhill@mofo.com



FOIA Confidential Treatment Requested

Via Overnight Delivery


Ms. Lisa Glasoe
Chief, Analysis and Operations Center
Student and Exchange Visitor Program
Homeland Security Investigations
United States Immigration and Customs Enforcement
500 12th Street, SW STOP 5600
Washington, DC 20536-5600

Re:    Violation of International Technological University’s Attorney-Client Privilege
       (SFR214F01670000)

Dear Ms. Glasoe:

This firm represents International Technological University Foundation, Inc. (“ITU”), a non-
profit WASC accredited institution, regarding the Student and Exchange Visitor Program’s
(“SEVP”) efforts to withdraw ITU’s certification to enroll nonimmigrant students.

When ITU received the Notice of Intent to Withdraw in July 2016 (“NOIW”), it learned for the
first time that SEVP improperly possessed a confidential legal memorandum from ITU’s outside
counsel, Daniel Olmos, dated October 6, 2014 (the “Privileged Report”). ITU promptly
demanded return of the Privileged Report and destruction of any copies, but SEVP declined
without reasonable legal justification and then withdrew ITU’s certification based upon
information contained in the Privileged Report. The Privileged Report is privileged on its face.
Nevertheless, despite multiple requests by ITU, SEVP has failed to produce any evidence that
the document is not privileged or that the privilege was waived or lost. SEVP is, therefore,
legally and ethically barred from relying on the Privileged Report to support its actions, and it
must return or destroy all copies.




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Chief, Analysis and Operations Center
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The Report Is Protected by Attorney-Client Privilege

“Federal common law recognizes a privilege for communications between client and attorney for
the purpose of obtaining legal advice, provided such communications were intended to be
confidential.”1 Any reasonable reader of the top half of page one of the Privileged Report,
pictured below, can see that the document is subject to the attorney-client privilege:




It is: (a) a written communication, (b) on law firm letterhead, (c) from ITU’s outside legal
counsel, Nolan, Armstrong & Barton, LLP, (d) to ITU officers only, (e) regarding a confidential
investigation. By addressing the Privileged Report only to ITU’s Chief Operating Officer and
Associate Director of Innovation, ITU’s attorney, Mr. Olmos, expressed his intent to
communicate his advice only to his client, ITU.




       1
         Gomez v. Vernon, 255 F.3d 1118, 1131 (9th Cir. 2001); see also Upjohn Co. v. United
States, 449 U.S. 383, 387 (1981).



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These facts prove that the document is subject to the protections of the attorney-client privilege.
In response to ITU’s timely demands, SEVP never tried to produce any evidence to the contrary.
Likewise, SEVP never produced any evidence to support its assertions that the privilege was
waived.

SEVP Has Failed to Produce Any Evidence that ITU Waived Its Privilege

Over the course of six written exchanges,2 SEVP asserted that ITU waived its privilege. Indeed,
SEVP presented three unsubstantiated claims of waiver: (1) ITU’s failure to reasonably protect
the privilege, (2) voluntary disclosure by ITU, and (3) an untimely assertion of the privilege.
Each of these claims is untrue, and SEVP has failed to provide any evidentiary support for them
(because there is no support).

Only the holder of the attorney-client privilege, i.e., the client, may waive it. As the Supreme
Court of the United States has explained, “the power to waive the corporate attorney-client
privilege rests with the corporation's management… [who] must exercise the privilege in a
manner consistent with their fiduciary duty to act in the best interests of the corporation and not
of themselves as individuals.”3 Once the holder of the privilege has established that the privilege
exists, the burden is on the challenger to produce evidence that the privilege was waived.4 This
shift of the evidentiary burden is particularly important here because ITU does not know how
SEVP obtained the Privileged Report. In response to multiple requests made by ITU, SEVP has
failed to demonstrate any kind of waiver.



       2
          Six letters were exchanged on this issue. The first was a letter from Morrison Foerster
LLP on behalf of ITU to SAOC Chief Timothy Hicks, dated August 26, 2016 followed by: a
letter from SEVP, by Beth Gibble, dated September 6, 2016; a letter from ITU to Ms. Gibble,
dated September 13, 2016; a letter from SEVP by Ms. Gibble, dated October 3, 2016; a letter
from ITU to Ms. Gibble, dated October 21, 2016; and a letter from SEVP, by Lisa Glasoe, dated
October 31, 2016. See the attached Composite Exhibit 1(a-f).
       3
          Commodity Futures Trading Comm'n v. Weintraub, 471 U.S. 343, 348–49, 105 S. Ct.
1986, 1991, 85 L. Ed. 2d 372 (1985); See also Cunningham v. Connecticut Mut. Life Ins., 845 F.
Supp. 1403, 1411 (S.D. Cal. 1994) (“under federal common law, the client is the holder of the
attorney-client privilege, and only the client can waive the privilege.”)
        4
          United States v. Chevron Corp., No. C 94-1885 SBA, 1996 WL 444597, at *4 (N.D. Cal.
May 30, 1996) (“the party asserting the attorney-client privilege bears the initial burden of
proving that the communication in question is privileged. If the party seeking discovery asserts
that the privilege which initially attached to the communication in question was subsequently
waived, that party must bear the burden of production on the issue of waiver.”)



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Curiously, the one fact that SEVP chose to disclose disproves all three of its claimed legal bases
for waiver. In its correspondence with ITU, SEVP stated that an unidentified “employee”
disclosed the report. When asked to identify the person, SEVP refused, allegedly to protect a so-
called “whistleblower.” SEVP did not identify which whistleblower statute allegedly applied to
the person who disclosed the Privileged Report let alone any right to remain anonymous under
that statute. Moreover, the mere fact that a whistleblower may (or may not) remain anonymous
does not relieve the government of its obligation to meet its evidentiary burdens. SEVP may not
rely on vague, anonymous hearsay to prove waiver, and ITU may not be deprived of its rights
under the confrontation clause of the Constitution, which generally requires that a party be given
an opportunity to examine those who would bear witness against it.5 Also, by asserting that it
received the Privileged Report from a whistleblower who supposedly needs protection from ITU,
SEVP admits that ITU did not authorize the disclosure. If ITU had authorized the whistleblower
to disclose the Privileged Report to SEVP, there would be no need for stealth whistleblowing. If
a true whistleblower provided the Privileged Report to SEVP in confidence without ITU’s
knowledge, the disclosure to SEVP was not and could not have been the act of an ITU agent
authorized to voluntarily waive the privilege.

SEVP’s assertion that ITU waived privilege by delaying its assertion of privilege is ironic given
that SEVP hid its possession of the Privileged Report from ITU for a year and a half. This letter
follows three prior demands for both the return of the Privileged Report and the certification of
the destruction of all copies. When ITU learned from the NOIW in July 2016 that SEVP had the
Privileged Report, ITU promptly asserted the privilege in writing to SEVP on three separate
occasions:

   x   On August 26, 2016, ITU advised SEVP that the Privileged Report was privileged “in its
       entirety” and requested that SEVP return all copies and not rely on its contents.

   x   On September 13, 2016, ITU reiterated its assertion of the privilege and asked that SEVP
       provide support for its claim that privilege had been waived.

   x   On October 21, 2016, ITU again denied that the privilege had been waived and again
       requested production of any evidence upon which SEVP relied.

Instead of complying with its obligation to produce evidence, SEVP subsequently issued two
Withdrawals on Notice (“WON” or “WONs”), both of which relied almost exclusively on the
Privileged Report to justify the withdrawal of ITU’s SEVP certification. This illegal conduct
resulted in substantial prejudice to ITU.


       5
           See U.S. Const. amend. VI.; Fed. R. Evid. 802.



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Reliance on the Privileged Report Violates Professional Rules of Conduct

The American Bar Association Model Rules of Professional Conduct mandate that a lawyer in
receipt of a document reasonably likely to be privileged has an immediate and affirmative
obligation to act:

       “A lawyer who receives a document relating to the representation of the
       lawyer’s client and knows or reasonably should know that the document was
       inadvertently sent shall promptly notify the sender.”6

A formal opinion from the ABA Committee on Ethics and Professional Responsibility provides
additional detail on a lawyer’s affirmative obligations:

       A lawyer who receives on an unauthorized basis materials of an adverse party
       that she knows to be privileged or confidential should, upon recognizing the
       privileged or confidential nature of the materials, either refrain from reviewing
       such materials or review them only to the extent required to determine how
       appropriately to proceed; she should notify her adversary's lawyer that she has
       such materials and should either follow instructions of the adversary’s lawyer
       with respect to the disposition of the materials, or refrain from using the
       materials until a definitive resolution of the proper disposition of the materials
       is obtained from a court.7

SEVP states in the NOIW that it received the Privileged Report on January 13, 2015. Every
lawyer working for the federal government who reviewed the Privileged Report from that date
forward had an ethical obligation to inform ITU or its counsel of SEVP’s possession of the
Privileged Report. Each lawyer was also required to refrain from reviewing it any further than
necessary to ascertain its privileged nature until receiving approval from ITU or a court.
Assuming at least one government attorney was aware of SEVP’s possession of the Privileged
Report, ITU’s repeated claims of privilege, and SEVP’s continued reliance on the Privileged
Report despite the obviously privileged nature of the document and ITU’s claims, that lawyer (or
multiple lawyers) violated the rules of ethics and must take immediate affirmative steps to rectify
those violations.

                                         *       *       *


       6
           Model Rule 4.4(b)(emphasis added).
       7
           ABA Comm. on Ethics and Prof’l Responsibility, Formal Op. 382 (1994).



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ITU hereby restates its demand that SEVP return all hard copies of the Privileged Report in its
possession, custody, or control and certify the destruction of all other copies, including electronic
copies, as any past or future reliance on the Privileged Report is unlawful. Please return the
Privileged Report and certify the destruction of all other copies by Friday, August 24, 2018.

Sincerely,


Joshua Hill
Counsel for International Technological University Foundation, Inc.

Encl.

cc:     Tracy Short, Esq., Principal Legal Advisor, ICE
        Waldemar Rodriguez, Associate Director, Office of Professional Responsibility, ICE
        Rebecca Falk, Esq., Assistant United States Attorney




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